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                       EXHIBIT E
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                    CHALMERS, ADAMS, BACKER & KAUFMAN, LLC
                                         ATTORNEYS AT LAW
                                    11770 HAYNES BRIDGE ROAD, G-205
                                       ALPHARETTA, GA 30009-1968
    PHONE: 770-630-5927
    EMAIL: akaufman@chalmersadams.com
                                  February 13, 2022
                      IMPORTANT EVIDENCE PRESERVATION NOTICE
                             PLEASE READ IMMEDIATELY

City of Cumming                        City of Cumming                 City of Cumming
Attn: Troy Brumbalow                   Attn: Jason Evans               Attn: Linda Ledbetter
Mayor                                  Council Member                  Council Member
Cumming City Hall                      Cumming City Hall               Cumming City Hall
100 Main Street                        100 Main Street                 100 Main Street
Cumming, GA 30040                      Cumming, GA 30040               Cumming, GA 30040
tbrumbalow@cityofcumming.net           jevans@cityofcumming.net        drlindaledbetter@aol.com
FedEx: 7712 8817 9550                  FedEx: 7712 8820 2184           FedEx: 7712 8821 7040
City of Cumming                        City of Cumming                 City of Cumming
Attn: Chad Crane                       Attn: Joey Cochran              Attn: Christopher Light
Council Member                         Council Member                  Council Member
Cumming City Hall                      Cumming City Hall               Cumming City Hall
100 Main Street                        100 Main Street                 100 Main Street
Cumming, GA 30040                      Cumming, GA 30040               Cumming, GA 30040
ccrane@cityofcumming.net               joeycochran@cityofcumming.net   clight@cityofcumming.net
FedEx: 7712 8823 1618                  FedEx: 7712 8846 2689           FedEx: 7712 8825 9448
City of Cumming                        City of Cumming                 City of Cumming
Attn: Jonathon Heard                   Attn: Heath Martin              Attn: Tom Bryson
Director of Utilities                  Assistant to Director           Superintendent Water Pollution
Cumming City Hall                      Cumming City Hall               Division
100 Main Street                        100 Main Street                 935 Dahlonega Highway
Cumming, GA 30040                      Cumming, GA 30040               Cumming, GA 30040
Applications@cummingutilities.com      FedEx: 7712 8836 5115           tombryson@cityofcumming.net
FedEx: 7712 8834 8156                                                  FedEx: 7712 8840 0463
Miles Hansford & Tallant, LLC
Attn: Kevin J. Tallant
City Attorney
202 Tribble Gap Road
Suite 200
Cumming, GA 30040
FedEx: 7712 8843 6383

            Re:    Blount Construction Company, Inc., v. City of Cumming.
                   Property Damage Caused by Water Tower Breach
                   Litigation Hold, Document Request and Policy Demand

            To Whom It May Concern:

           This office, together with The Hilbert Law Firm, LLC, represents Blount Construction
    Company, Inc. (“Blount Construction”) with regard to the above-mentioned matter. As you are no
    doubt aware, on or about December 6, 2022 – December 8, 2022, the water towers (the “Water
    Tower”) located adjacent to Blount Construction’s property located at 911 Canton Highway
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Cumming, GA, 30040 (the “Property”) discharged millions of gallons of water (the “Tower Failure
Occurrence”) onto the Property. Blount Construction has incurred and continues to incur
significant damages as a result of this Tower Failure Occurrence, the resulting repairs, and civil
litigation against the City of Cumming (the “City”), which is imminent. The purpose of this letter
is to place the entire City, as well as its agencies, affiliates, departments, employees,
representatives, insurers, and its agents, including without limitation, any hired experts,
contractors, and/or subcontractors, on notice of pending litigation, and having notified the City of
pending litigation, to remind the City of its obligations to take reasonable steps to preserve and not
to spoliate any and all evidence in its unaltered native form, all information, records, statements,
and documentation whether physical, printed, digital, or electronic, or tangible or intangible, that
is or may become relevant to the Tower Failure Occurrence, the land upon which the Water Tower
is located and abutting, any subsurface pipes connected to or serving the Water Tower, any
monitoring/alert system involving the Water Tower, and any debris from the Tower Failure
Occurrence that was collected, retained or removed from the situs of the Water Tower.

         This request for preservation or evidence, documentation, records and information
includes, but is not limited to, any, of the following that in any way relate to communications (1)
with Blount Construction, (2) about Blount Construction, (3) about the Water Tower, including
without limitation, their design, installation, civil and/or structural engineering, ground lateral
support, pressure capacities, fill capacities, fill and refill valves, pipes and levers, catastrophic
failure studies, hydrology studies, pressure tests, other testing, surveys, geotechnical plans and
studies, topographical plans and studies, subsurface and surface piping, history of monitoring,
structural integrity testing and inspection, (4) about the Property, (5) about inspections, operations,
maintenance and repairs to the Water Tower within the last twenty (20) years, (6) about personnel
and contractors that entered the Property where the Water Tower is located and/or the Blount
Construction property,(7) about contractors or sub-contractors used to repair the Water Tower and
its surrounding areas, and (8) about any monitoring, alerts or other systems and personnel charged
with the duty of monitoring the Water Tower. This preservation demand further includes and
applies to any alerts, notices, notifications, monitoring warning, or emergency alerts the City and
its employees and agents received or should have received surrounding the Water Tower within
the last five (5) years. Included in this request are personnel records of anyone who authorized or
completed any maintenance, inspections, and testing of any kind and nature on the Water Tower,
the land above and/or below surface, and its surrounding area within five (5) years of the Tower
Failure.

         The City is further specifically required to preserve all records and tangible items related
to the Water Tower and the Tower Failure Occurrence including, but not limited to, pipes, valves,
levers, screws, nuts, bolts, washers, gauges, flanges of any kind and nature, pressure devices,
debris, content of any pipe obstruction of any kind, soil, photos, installation design plans,
construction drawings and plans, plans to operate and service the Water Tower, complaints and
reports made regarding the structural integrity of the Water Tower and its above or below surface
pipes, payments made to operate, service, test, inspect and repair the Water Tower and above or
below surface pipes, and all types of electronically-stored records which reference the
abovementioned information, including, but not limited to, backed-up records, archived records,
digital records, legacy information, data of any kind, hidden data, embedded data, meta-data, and
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residual-deleted data, whether on separate media, computer networks, standalone computers, and
cloud-based storage, social media, photographic record, video record, drone surveillance record,
subsurface “snaking” camera footage of any piping, cellphone records, whether proprietary or
otherwise, etc. We also expect that corresponding paper documents, records, and real objects will
be preserved in accordance with all statutes, common law, and litigation-relevant standards that
apply (collectively, the “Documents”). If the City has any policy that requires automatic deletion
or destruction of emails, evidence or any Documents, the City is notified and informed to cease
and desist any such policy immediately pursuant to this letter.

        In addition to the foregoing, be advised that Blount Construction and its agents intend to
inspect the Water Tower and its appurtenances, any damaged pipes, repaired pipes and surrounding
retaining walls that were recently installed around the Water Tower without notice to Blount
Construction. Notice of an inspection and any invasive/destructive testing, above and below
surface, will come through a later correspondence.

         PLEASE TAKE FURTHER NOTICE pursuant to O.C.G.A. §50-18-70 et. seq., and accept
this letter as a formal open records request for all of the above-referenced Documents within the
next three (3) business days. Please identify which department(s) will be producing said
Documents, and we will promptly provide an upload link for the Documents.

        We further take this opportunity to direct the City to place all of its insurance carrier(s) on
notice of a potential claim against its policies. Pursuant to O.C.G.A. §33-3-28, please accept this
letter as a further demand for the City’s insurance policy(ies). To make ourselves clear, this
demand specifically requests and applies to complete copies of the policy(ies). The production of
only the declarations page of any given policy will not satisfy this demand. Finally, be advised
that a separate Ante-Litem Notice is forthcoming.

        We urge the City to consult with a legal professional immediately so that they may properly
advise the City on the serious nature of this matter, and the City’s legal obligations to preserve
evidence. Please direct all communications regarding this matter to my attention at the email
address and phone number listed above. All communication directed to my attention should also
include Mr. Kurt Hilbert, Esq., at The Hilbert Law Firm, LLC, whose address is 205 Norcross
Street, Roswell, GA, 30075 and via email at khilbert@hilbertlaw.com.

       Govern yourselves accordingly.
                                                       /s/ Alex B. Kaufman, Esq.
                                                       For the Firm
       Cc: khilbert@hilbertlaw.com
